
ATTORNEY DISCIPLINARY PROCEEDING
PER CURIAM.
liThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent neglected a legal matter, causing his client’s lawsuit to be dismissed as abandoned, and failed to communicate with the client. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Matthew B. Collins, Jr., Louisiana Bar Roll number 4310, be suspended from the practice of law for a period of six months. It is further ordered that this suspension shall be deferred in its entirety and that *36respondent shall be placed on-unsupervised probation for a period of six months. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal. interest to commence thirty days from the date of finality of this court’s judgment until paid.
JOHNSON, C.J., dissents and would reject the consent discipline as too lenient.
